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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                       )
                                               )
               v.                              )
                                               ) CRIMINAL NO. 14-10276-IT
JOHN WILLIAM CRANNEY, aka                      )
JACK CRANNEY                                   )
                    Defendant.                 )


           DEFENDANT’S MOTION TO APPOINT NEW COUNSEL,
PERMIT SELF REPORTING AND TO EXTEND THE SELF REPORTING PERIOD TO
  SIXTY DAYS OR, ALTERNATIVELY, STAY HIS SENTENCE PENDING APPEAL

   Now Comes defendant, John W. Cranney, who respectfully moves this Court to (a) appoint

appellate or secondary counsel to handle future filings and to represent Mr. Cranney on appeal

(b) permit Mr. Cranney to self-report post sentencing; (c) either extend his self reporting period

to sixty days or, alternatively, stay his sentence pending appeal; and (d) permit undersigned to

withdraw after sentencing. Mr. Cranney will request new counsel for his appeal. As grounds,

defendant states the following:

   1. Mr. Cranney is 76 years old and in poor health. He has an ulcerated toe, suffered a heart

attack and endured cardiac surgery over the last 18 months. He has diabetes with neuropathic

changes, chronic kidney disease and hypertension.

   2. Mr. Cranney’s wife is extremely ill and presently confined to a nursing home for round

the clock care. He spends significant time with her.

   3. Mr. Cranney will appeal and believes he has viable appellate grounds for reversal. These

appellate issues include but are not limited to the Court’s decision precluding him from eliciting

testimony from his proffered witnesses in violation of his Sixth and Fifth Amendment

constitutional right to present an effective defense, due process and a fair trial. Specifically,

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defendant was ready to defend against the government’s allegations that he had defrauded

investors by calling witnesses who would have testified that (a) they were also victims of the

same scheme; (b) the scheme was legitimate; (c) Mr. Cranney was satisfying all contractual

obligations per their promissory notes; and (d) he had not made any representations to them

about investment their funds in the stock market. In this context, he expected some of the same

witnesses to testify that he was developing other streams of income to repay future debt

obligations incurred through this legitimate business scheme. Mr. Cranney believes he has

raised a substantial issue of law that more probable than not will lead to reversal.

   4. Additionally, defendant believes that the Court permitted the government to admit

evidence that he had structured ESOPs illegally despite an early ruling that the government could

not make such assertions. This violated Mr. Cranney’s Fifth Amendment right to a fair trial and

due process and raises a substantial issue of law that will more likely than not lead to a reversal.

   5. Mr. Cranney also seeks to raise claims that defense counsel was ineffective by failing to

introduce certain evidence which Mr. Cranney believes would have resulted in not guilty

verdicts. His present lawyer is not in a position to present these in any detail and moves to

withdraw after sentencing so that Mr. Cranney’s new lawyer may do so.

   6. To prevail under § 3143(b)(1)(B), a defendant must show “(1) that the appeal raise[s] a

substantial question of law or fact and (2) that if that substantial question is determined favorably

to the defendant on appeal, that decision is likely to result in reversal or an order for a new trial

of all counts on which imprisonment has been imposed.” United States v. Bayko, 774 F.2d 516,

523 (1st Cir.1985); see also United States v. DiMasi, 817 F.Supp.2d 9, 13 (D.Mass.2011). The

first prong requires a showing that the question was “close” and “very well could be decided the

other way.” Bayko, 774 F.2d at 522 (internal quotation marks omitted) (quoting



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Giancola, 754 F.2d 898, 901 (11th Cir.1985)). It does not require a showing that the defendant

would “probably” win. Id. at 521–22. The second prong requires proof that the error is not

“harmless”; rather, it is “more probable than not that a favorable decision will result in reversal

of the conviction or a new trial,” id. at 522 (internal quotation marks omitted), a sentence not

involving incarceration, or a sentence that is shorter than the time already served plus the

expected length of the appeal, 18 U.S.C. § 3143(b)(1)(B). Mr. Cranney believes he satisfies this

standard and raised a substantial question of law to warrant the stay of his sentence pending

appeal.

   7. Undersigned counsel for Mr. Cranney will be out of the country beginning August 10th

and returning on August 25th. While trial counsel will file defendant’s Notice of Appeal, Mr.

Cranney may need some legal assistance with appellate issues post sentencing, which is

scheduled for August 9th. Mr. Cranney will appeal and has stated he wants new counsel for an

appeal and all post-conviction matters. He believes he has substantial issues to warrant a stay of

his sentence. Therefore, it might be expedient to appoint secondary counsel prior to sentencing,

who could (a) handle any legal issues immediately after sentencing; and (b) step in as appellate

counsel.

   8. Under such circumstances, it makes sense for this Court to extend the time for self

reporting to sixty days so that (a) an appropriate facility can be found to handle Mr. Cranney’s

unique health issues and (b) new counsel can properly assess the grounds for any further Motion

to Stay his Sentence. Alternatively, the Court can stay the sentence pending appeal at the

appropriate time.

   Wherefore, defendant moves this Court to (a) appoint appellate or secondary counsel just

before sentencing to handle future filings and to represent Mr. Cranney on appeal; (b) permit Mr.



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Cranney to self-report post sentencing; (c) either extend his self-reporting period to sixty days or

stay his sentence pending appeal; and (d) permit undersigned to withdraw after sentencing.

                                                       Respectfully Submitted,



                                                       /s/JAMES BUDREAU
                                                       James Budreau
                                                       BBO# 553391
                                                       Bassil & Budreau
                                                       20 Park Plaza, Suite 1005
                                                       Boston, MA 02116
                                                       617-366-2200

                                  CERTIFICATE OF SERVICE


          I, James Budreau, do hereby certify that this motion has been filed electronically and
 that it will be served electronically to registered ECF participants as identified on the Notice
 of Electronic Filing (NEF) on August 1, 2018.


                                                       /s/ James Budreau




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                                       AFFIDAVIT OF COUNSEL

        I, James Budreau state that the following is true to the best of my knowledge:

       1. I represent John Cranney in the instant matter. I have no information that his financial
circumstances have changed and believe that he is indigent.

         2. Mr. Cranney has serious medical issues and presents an unusual situation for the Bureau of
Prisons given he has a serious cardiac condition, chronic kidney disease, diabetes, an ulcerous toe,,
hypertension and neuropathic changes that affect his balance and feeling in his hands and legs. He has
already had a serious heart attack prior to one trial and cardiac intervention which all experts stated
involved significant risk to his life expectancy. While Mr. Cranney took the risk and had surgery, his
health is still fragile. Consequently, the BOP will likely need some time to find a facility that would best
manage his compromised health condition.

         3. Mr. Cranney will appeal his convictions. He also believes that he has valid and compelling
appellate issues that will llikely lead to the reversal of his convictions. These grounds are succinctly laid
out in the Motion. Mr. Cranney will be asking for new appellate counsel.

         4. Mr. Cranney also believes that trial counsel refused to introduce evidence at trial that would
have resulted in his acquittal. As undersigned was trial counsel, another lawyer would be a better fit to
review such allegations. Consequently, it would make sense for this Court to appoint secondary counsel
just before sentencing to take the reigns post sentencing. This timing makes sense since trial counsel will
be out of the country beginning August 10-25, 2018 and new counsel could (a) facilitate any legal filing
issues including a Motion to Stay or appeals of such orders and forms with the appeals court.

        Signed under pains and penalties of perjury on this 6th day of August,



                                                           /s/James Budreau




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